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 6
                              UNITED STATES DISTRICT COURT
 7                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 8   GARRET ODDY,                                       Case No.

 9                   Plaintiff,                         AT LAW AND AT ADMIRALTY
10   vs.                                                SEAMAN’S COMPLAINT IN REM AND
                                                        IN PERSONAM FOR PERSONAL
11   SURGENER FISHERIES 2, LLC, IN                      INJURIES, WAGES, CLAIM FOR
     PERSONAM; F/V MCKENZIE ROSE,                       MAINTENANCE AND CURE – ALL
12   OFFICIAL NUMBER 682724; HER                        WITHOUT PAYMENT OF COSTS, 28
     ENGINES, MACHINERY,                                U.S.C. § 1916
13   APPURTENANCES AND CARGO, IN REM

14                   Defendants.

15

16
            COMES NOW the plaintiff and complains of the defendants, alleging upon information
17
     and belief as follows:
18
            1.       Plaintiff, Garret Oddy, brings and maintains this action pursuant to 28 U.S.C.
19
     § 1333; 46 U.S.C. §§ 10601, 30103 and 30104; U.S. Const. Art. III, sec. 2, and the general
20
     maritime law.
21
            2.       Plaintiff is a resident of Washington. The in personam defendant has a principal
22
     place of business in the Western District of Washington.
23
     SEAMAN’S COMPLAINT IN REM AND IN PERSONAM FOR                          JOHN W. MERRIAM
     DAMAGES FOR PERSONAL INJURIES, WAGES, CLAIM FOR                    4005 20th Avenue West, Suite 110
     MAINTENANCE AND CURE – ALL WITHOUT PAYMENT OF                         Seattle, Washington 98199
     COSTS, 28 U.S.C. § 1916 - 1                                       T (206) 729-5252 ♦ F (206) 729-1012
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 1           3.      Plaintiff is a seaman and a ward of this Court and elects to take advantage of the

 2   provisions of 28 U.S.C. § 1916 to proceed without prepayment of costs or fees.

 3           4.      Defendant herein, Surgenor Fisheries 2, LLC, is a corporation existing under and

 4   by virtue of the laws of a state or states unknown to plaintiff and at all times herein mentioned

 5   was acting by and through its officers, agents, servants, employees and representatives, and has a

 6   principal place of business or is doing business in the Western District of Washington.

 7           5.      The F/V McKenzie Rose is a vessel documented by the United States, official

 8   number 682724. Said vessel has her home port in the Western District of Washington or will be

 9   found in the Western District of Washington during the pendency of this action. During all times

10   herein mentioned said vessel was owned or bareboat chartered by the defendants and was

11   engaged in maritime commerce.

12           6.      At all times herein mentioned, plaintiff was employed by the defendants as a

13   member of the crew, in the service of said vessel and was at all times acting within the course

14   and scope of his duties as Master in furtherance of the mission of said vessel.

15           7.      On or about July 14, 2019, while said vessel was in navigable waters, plaintiff fell

16   off a ladder, and did thereby sustain severe, painful and disabling injuries to his ribs, and other

17   injuries not fully known at this time. Plaintiff prays leave to amend this complaint when the full

18   extent of injuries and disabilities is ascertained.

19           8.      Said injuries, disabilities, and damages were directly and proximately caused by

20   the unseaworthiness of the vessel; the negligence, in whole or in part, of the defendants and their

21   agents, servants and employees; and the failure of the defendants to provide a reasonably safe

22   place to work, in one or more of the following respects: The ladder was not properly secured to

23   the dock or the vessel while the vessel was moored at Westport.
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 1          9.      As a direct and proximate result of the foregoing, plaintiff was caused to and did

 2   incur reasonable charges for medical care and attention. Plaintiff does not know the reasonable

 3   value of said medical care and attention already rendered or to be rendered in the future and

 4   therefore, prays leave to amend this complaint to show the same.

 5          10.     As a further result of the foregoing, plaintiff was rendered unable to engage in his

 6   normal and usual occupation for a period of time. Plaintiff may later be unable to engage in his

 7   normal and usual occupation and prays leave to amend this complaint to allege the full extent of

 8   said loss when the same is ascertained.

 9          11.     Plaintiff demands maintenance from the defendants in a per diem amount to

10   recuperate on land with room and board at least equal to that received on defendants’ vessel,

11   until the plaintiff reaches maximum cure or until the plaintiff is declared fit for duty, whichever

12   last occurs. Plaintiff further demands the actual cost of cure until the plaintiff fully cured, and if

13   never cured, plaintiff demands the cost of cure for the remainder of plaintiff’s natural life.

14          12.     Maintenance and cure has been demanded and not timely paid. The failure to pay

15   maintenance and cure has caused additional damages to the plaintiff whether or not the failure to

16   pay was reasonable under the circumstances. Plaintiff is entitled to compensatory damages –

17   including contingent attorney fees – for the negligent failure to pay maintenance and cure.

18   Plaintiff is entitled to reasonable attorney fees for the arbitrary and capricious failure to pay

19   maintenance and cure. Plaintiff is entitled to punitive damages for the willful and wanton failure

20   to pay maintenance and cure.

21          13.     Plaintiff is entitled to unearned wages until the end of the contemplated period of

22   employment. Said wages have been demanded and denied. Plaintiff is entitled to double wages

23   under state law and/or punitive damages under federal law.
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 1             14. The contract for employment required by 46 USC §10601 was not timely signed by

 2   plaintiff.

 3             15.     Plaintiff was not paid his crew share for the last trip of the F/V McKenzie Rose

 4   during his contracted period of employment.

 5             16.     Vessel owner forged plaintiff’s signature on one of more fish tickets.

 6             17.     Eighty-nine (89) days following the filing of this action, plaintiff waives the

 7   physician-patient privilege, under protest, and only on condition that the Court holds that a

 8   waiver is required in this case. This waiver is made pursuant to RCW 5.60.060(4)(b), as

 9   amended by Chapter 305, Laws of 1986; as limited by the civil discovery rules. Specifically,

10   plaintiff authorizes no ex parte contacts or inquiry to medical personnel regarding matters not

11   reasonably calculated to lead to the discovery of admissible evidence. This waiver is made

12   subject to plaintiff’s challenge to the constitutionality of RCW 5.60.060(4)(b) on privacy

13   grounds, and the applicability of said statute to federal causes of action brought in federal court.

14

15             WHEREFORE, plaintiff prays judgment against the defendants as follows:

16             1.      For a declaration that the plaintiff holds claim to a preferred maritime lien against

17   the defendant vessel, her engines, machinery, appurtenances and cargo;

18             2.      For arrest, condemnation and sale of the defendant vessel including her engines,

19   machinery, appurtenances and cargo;

20             3.      For general damages, including damages for loss of consortium, as are reasonable

21   and fair;

22             4.      For such special damages, including found, as may be shown by the proofs

23   herein;
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 1          5.      For maintenance and cure, and for consequential and punitive damages for failure

 2   to pay same;

 3          6.      For earned and unearned wages and double wage penalties;

 4          7.      For pre-judgment interest on all claims as is in the law provided;

 5          8.      For costs of suit and reasonable attorney fees;

 6          9.      For such other and further relief, including punitive damages, as is met and just in

 7   the circumstances.

 8

 9          Dated this 31st day of May, 2021.

10                                                LAW OFFICE OF JOHN MERRIAM

11                                                By: /s/ John W. Merriam
                                                  John W. Merriam, WSBA #12749
12                                                4005 20th Avenue West, Suite 110
                                                  Seattle, WA 98199
13                                                Telephone: (206) 729-5252
                                                  Fax: (206) 729-1012
14                                                Email: john@merriam-maritimelaw.com
                                                  Attorney for Plaintiff
15

16          I am the attorney for the plaintiff in this action and have knowledge of the matters

17   asserted in the above complaint based upon information provided by the plaintiff.

18          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the allegations of the

19   above complaint are true and correct to the best of my knowledge and belief.

20

21   DATED at Seattle, Washington this 31st day of May, 2021.

22
                                                  /s/ John W. Merriam
23                                                John W. Merriam
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